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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

LEVI STRAUSS & CO.,

Plaintiff,
v.
A&Z BABY STORE, et al.,
Defendants.

 

 

EASTERN DIVISION

Case No. 18-cv-05866
Judge Charles P. Kocoras

Magistrate Judge Sidney I. Schenkier

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on December 18, 2018 [55], in

favor of Plaintiff Levi Strauss & Co. (““LS&Co.”) and against the Defendants Identified in

Schedule A in the amount of one million dollars ($1,000,000) per Defaulting Defendant for

willful use of counterfeit LEVI’S Trademarks in connection with the offer for sale and/or sale of

products through at least the Defendant Internet Stores, and LS&Co. acknowledges payment of

an agreed upon damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendant:

 

 

 

 

Defendant Name Line Nos.
ascromy 3
qiezi 164

 

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
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Dated this 14th day of June 2019.

Respectfully submitted,

“Amy C, Fcc

Justin R. Gaudio

Rikaleigh C. Johnson

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Counsel for Plaintiff Levi Strauss & Co.

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 14th day of June 2019.

Given under by hand and notarial seal.

    

CAITLIN SCHLIE |
Official Seal
Notary Public ~ State of Illinois
My Commission Expires Nov 20, 2021

    
   

Cus Sy

Notary Public

State of Illinois
County of Cook
